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                                  UNITED STATES DISTRICT
                                COURT SOUTHERN DISTRICT OF
                                         FLORIDA

                         CASE NO. 23-cv-21023-ALTONAGA/DAMIAN

   EDWIN GARRISON, et al., on behalf of
   themselves and all others similarly situated,

           Plaintiffs,

   v.

   BEN ARMSTRONG, et al.,

           Defendants.
                                                         /

  DEFENDANT BEN ARMSTRONG’S FIRST REQUEST FOR PRODUCTION TO COUNSEL
                   FOR PLAINTIFFS, ADAM MOSKOWITZ

          Defendant, BEN ARMSTRONG, by and through his undersigned attorney and pursuant to

  Fed. R. Civ. P. 34, hereby serves this Request for Production to non-party Adam Moskowitz to

  produce the following within thirty (30) days of receipt:



          1.      All records of relevant communications including but not limited to audio files of

  phone calls and screenshots of social media posts which are the subject of Adam Moskowitz’s

  concerns.

                                      CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 20th day of April, 2023, the foregoing has been served

  electronically to all counsel of record.

                                                              Respectfully submitted,

                                                              /s/ Jason L. Rindenau

                                                              Jason L. Rindenau, Esq.
                                                              Fla. Bar No. 1025645
                                                              Email: jason.rindenau@gmail.com


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                                                Counsel for Defendant, Ben Armstrong




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